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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

                     TRUSTEE'S SUPPLEMENTAL REPORT

  FOLLOWING MOTION TO DISMISS HEARING HELD ON FEBRUARY 21, 2019



CASE NO.:    17-58517-PMB

DEBTOR:      OLIVIA M. ROWE

TRUSTEE TO REPORT BACK IN 10 DAYS

WHETHER DEBTOR HAS PAID $530.00.

THE TRUSTEE HAS REVIEWED THE CASE AS INSTRUCTED AND

DEBTOR’S PLAN PAYMENTS REMAIN DELINQUENT.

PLEASE ENTER AN ORDER OF DISMISSAL.


March 12, 2019



                                    _________/s/____________________
                                    Jason L. Rogers, Attorney for the
                                    Chapter 13 Trustee
                                    GA Bar No. 142575




Melissa J. Davey, Chapter 13 Trustee
Suite 200 – 260 Peachtree Street, N.W.
Atlanta, Georgia 30303
(678) 510-1444
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                                   Page 2 of 2


17-58517-PMB

                         CERTIFICATE OF SERVICE

This is to certify that I have on this day electronically filed
the foregoing Chapter 13 Trustee’s Supplemental Report Requesting
Dismissal using the Bankruptcy Court’s Electronic Case Filing
program, which sends a notice of this document and an
accompanying link to this document to the following parties who
have appeared in this case under the Bankruptcy Court’s
Electronic Case Filing program:

ATTORNEY FOR DEBTOR:

Vince Capomacchia
The Semrad Law Firm, LLC
vcapomacchia@semradlaw.com


I further certify that on this day I have served a copy of
the foregoing Supplemental Report Requesting Dismissal by
depositing a copy of same in the United States Mail with
adequate postage thereon addressed as follows:


DEBTOR:

Olivia Michelle Rowe
4265 Dollar Mill Way Sw
Atlanta, GA 30331


This the 12th day of March 2019.


                             /s/
                        Jason L. Rogers
                        Attorney for the Chapter 13 Trustee
                        260 Peachtree Street, Suite 200
                        Atlanta, GA 30303
                        678-510-1444




Melissa J. Davey, Chapter 13 Trustee
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